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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


ANTHONY BRAGDON,                    :
                                    :
          Plaintiff,                :
                                    :
     v.                             : Civil Action No. 05-0488 (JR)
                                    :
MICHAEL MALONE, et al.,             :
                                    :
          Defendants.               :


                           MEMORANDUM ORDER


          Plaintiff Anthony Bragdon sues FBI agent Michael Malone

and ten other unnamed FBI agents for violations of his

constitutional rights under Bivens v. Six Unknown Agents, 403

U.S. 388 (1971).   The complaint alleges a conspiracy to convict

him using false evidence in deprivation of his rights under the

Fourth, Fifth, Sixth, and Eighth Amendments.        Because Malone is

absolutely immune from suit based on his trial testimony in

Bragdon’s case, his motion to dismiss will be granted in part.

The other part of Malone’s motion, which seeks the protection of

absolute immunity for his investigative work, must be denied.

                              Background

          Bragdon was arrested in 1991 and charged with the rape

of Coranda Farmer.    On March 10, 1992 a jury found him guilty of

assault with intent to rape while armed and possession of a

firearm during a crime of violence.      He was sentenced to 30 years

in prison, 15 years for each of the two counts of conviction.
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           At Bragdon’s trial, the prosecution introduced evidence

from an FBI fiber analysis performed under Malone’s supervision.

Malone compared fibers scraped from the victim’s panties and

pants with samples collected from plaintiff’s apartment, where

the rape allegedly occurred.     His examination included

microscopic observation and color-testing using a

microspectrophotometer.    He did not perform a cross-sectional

analysis, nor did he do other forms of destructive testing that

are against FBI policy.

           Malone found that four beige nylon trilobal fibers

found on the victim’s clothing matched a sample from defendant’s

carpet.   He also found red and beige nylon trilobal fibers that

did not match the defendant’s carpet.       On October 29, 1991,

Malone issued an official report of his findings.         The report

discussed the matching beige and non-matching red fibers.             It did

not mention the presence of the non-matching beige fibers on the

victim’s clothing.   According to the amended complaint, the

allegations of which are taken are true for purposes of this

motion, evidence of the non-matching fibers was withheld from the

prosecution and defense teams.1     This report apparently ended

Malone’s involvement in the investigation.        He later testified at

plaintiff’s trial.


1
   According to Malone, however, his notes, along with the report
and the scrapings, were in fact given to plaintiff’s defense team
on October 29, 1991. Decl. of Michael Malone at 10.

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          In April 1997, the Office of the Inspector General

(OIG), United States Department of Justice, issued a special

report titled, “The FBI Laboratory:      An Investigation into

Laboratory Practices and Alleged Misconduct in Explosives-Related

and Other Cases” (OIG Report).     The OIG Report identified Malone

as an individual who had falsified work.       Plaintiff’s case was

not mentioned in the report, but Steve Robertson, an independent

scientist, later investigated and reported on Malone’s work in

plaintiff’s case.

          The independent investigation faulted the Malone’s

final report and trial testimony for several instances of

overstatement or error.    Malone testified that the matching beige

trilobal fibers could only have come from Bragdon’s carpet or

“another carpet sample with exactly the same microscopic

characteristics...if that source even existed.”        Tr. at 247.

Robertson’s report, however, noted that a variety of materials

besides carpet contain trilobal fibers, and that, since “a carpet

is mass-produced, to state that other carpet with the same

characteristics as the suspect’s carpet may not exist is

erroneous and implausible.”     The report also found that Malone’s

analysis did not include the correct type of examination

necessary to truly match the fibers:      Malone had not performed

the cross-sectional observations or dye-testing that are needed

to establish a true match of fibers.


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          In March 2002, based on these findings and Malone’s

failure to mention evidence of non-matching beige trilobal fibers

in his final report or trial testimony, plaintiff filed a

petition to vacate his conviction.       On March 14, 2003, the

Superior Court of the District of Columbia overturned plaintiff’s

conviction based on what it termed Malone’s false testimony and

failure to disclose potential exculpatory evidence.         Plaintiff

then filed this Bivens action, which Malone moves to dismiss for

failure to state a claim upon which relief can be granted.

Malone also asserts a defense of absolute immunity and moves, in

the alternative, for summary judgment.

                               Analysis

Failure to state a claim

          Malone’s first argument, that the complaint does not

give him fair notice of the nature and basis of plaintiff’s

claims, is rejected.    Nothing more is required than “‘a short and

plain statement of the claim’ that will give the defendant fair

notice of what the plaintiff’s claim is and the grounds upon

which it rests.”   Conley v. Gibson, 355 U.S. 41, 45-46 (1957),

quoting Fed. R. Civ. P. 8(a)(2).      The “notice pleading” standard

relies on liberal discovery rules and summary judgment motions to

define disputed facts and to dispose of unmeritorious claims.

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511-12 (2002).




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          The complaint alleges that Malone withheld exculpatory

evidence from plaintiff and his prosecutors, supplied the

prosecution with false forensic evidence, and provided false

testimony at his trial, Am. Compl. ¶ 12-13, ¶ 15-16, and it

alleges that this false evidence and testimony related to

Malone’s “testing, findings, and conclusions concerning the hair

and fiber evidence found and presented in the case.”         That more

than suffices for the “short and plain statement” required by

Rule 8(a).   Moreover, since the complaint refers to the findings

of the Superior Court in its ruling overturning plaintiff’s

conviction, that court’s lengthy discussion of the problems with

Malone’s investigation gives the defendants ample notice of the

basis of plaintiff’s claims.

Absolute Immunity

          Malone next argues that any claims based on his trial

testimony is barred by the absolute immunity afforded witnesses

in judicial proceedings, and that “prosecutorial immunity”

shields him from liability for claims based on his failure to

disclose exculpatory evidence.     Malone is correct in his

assertion that he is absolutely immune from civil prosecution for

his trial testimony.    The absolute immunity that protects judges

and prosecutors in the performance of their functions during the

judicial phase of a case also cloaks witnesses testifying during




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trial.    Briscoe v. LaHue, 460 U.S. 325, 329-31 (1983)2.          This

immunity applies to police and other governmental witnesses no

less than private ones.       Id.   The majority of circuits have

extended this immunity as a matter of logic even to claims of

pre-trial conspiracies to commit perjury.3          The complaint in this

case is not confined to Malone’s testimony, however.            It also

alleges that Malone withheld exculpatory evidence and fabricated

evidence during his investigation.          Police officers and other

officials are not entitled to absolute immunity for their

investigatory actions.       See Buckley v. Fitzsimmons, 509 U.S. 259,

274 (1993).

            Malone claims prosecutorial immunity, however,

attempting to invoke the rule giving prosecutors absolute

immunity for actions “intimately associated with the judicial


2
   Although Briscoe addressed the application of absolute
immunity to suits under 42 U.S.C. § 1983, the analysis is the
same for Bivens actions. Butz v. Economu, 438 U.S. 418, 504
(1978).

3
   Eight out of nine circuits addressing the issue have
reached this conclusion. See Mowbray v. Cameron County, Tex.,
274 F.3d 269, 277 (5th Cir. 2001); Franklin v. Terr, 201 F.3d
1098, 1101-03 (9th Cir. 2000); Jones v. Cannon, 174 F.3d 1271,
1288-89 (11th Cir. 1999); Watterson v. Page, 987 F.2d 1, 9
(1st Cir. 1993); Snelling v. Westhoff, 972 F.2d 199, 200 (8th
Cir. 1992); House v. Belford, 956 F.2d 711, 720-21 (7th Cir.
1992); Miller v. Glanz, 948 F.2d 1562, 1569 (10th Cir. 1991);
Alioto v. City of Shively, 835 F.2d 1173, 1174 (6th Cir.
1987). The Second Circuit is the lone exception. See San
Filippo v. U.S. Trust Co., 737 F.2d 246, 254-55 (2d Cir.
1984).


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phase of the criminal process.”       Imbler v. Pachtman, 424 U.S.

409, 430 (1974).    This rule uses a functional approach and looks

to the nature of the action, rather than the status of the actor.

Id.   Prosecutorial immunity thus protects actions that are

advocatory in nature, but not actions that “cast [the prosecutor]

in the role of an administrator or investigative officer.”             Id.

at 430-31.

           One of the functions protected by prosecutorial

immunity is the failure to turn over Brady material to the

defense team, id.; see also Moore v. Valder, 35 F.3d 189, 194-95

(D.C. Cir. 1995), and Malone argues by analogy that he should

enjoy that protection for the function he performed, which was

(allegedly) withholding exculpatory evidence.         The argument

stretches prosecutorial immunity to its breaking point, however.

Prosecutorial immunity for pretrial actions is limited to “the

professional evaluation of the evidence assembled by the police

and appropriate preparation for its presentation at trial or

before a grand jury after a decision to seek an indictment has

been made.”   Buckley, 509 U.S. at 274.       In this case Malone’s

report was issued after the decision to indict, see Dkt. # 27,

Ex. 1, but the date is not so important as the function.           Note

the Buckley Court’s stress upon the difference between “the

advocate’s role in evaluating evidence and interviewing witnesses

as he prepares for trial, on the one hand, and the detective’s


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role in searching for the clues and corroboration that might give

him probable cause to recommend that a suspect be arrested, on

the other hand.”   Id.    Malone’s function was clearly on the

detective’s side of the line.     Accord Malley v. Briggs, 475 U.S.

335 (1986) (rejecting police officer’s analogy to prosecutorial

immunity).

          To be sure, the Supreme Court has at various times

noted the incongruity that would result if prosecutors were

protected for behavior for which police officers faced liability.

See Kalina v. Fletcher, 522 U.S. 118, 126 (1997) (“[I]t is

neither appropriate nor justifiable that, for the same act,

immunity should protect the one and not the other.); Buckley, 509

U.S. at 276 (“When the functions of prosecutors and detectives

are the same, as they were here, the immunity that protects them

is also the same.”);     Burns v. Reed, 500 U.S. 478, 495

(1991)(“Indeed, it is incongruous to allow prosecutors to be

absolutely immune from liability for giving advice to the police,

but to allow police officers only qualified immunity for

following the advice....”).      Each of those statements, however,

was in a decision limiting the absolute immunity of prosecutors,

not expanding prosecutorial immunity to other actors.          See

Kalina, 522 U.S. 118 (prosecutor not absolutely immune for

participation in probable cause hearing); Buckley, 509 U.S. 259

(prosecutor not absolutely immune for pre-indictment fabrication


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of evidence or false statements at press conference); Burns, 500

U.S. at 495 (prosecutor not absolutely immune for giving legal

advice to the police).

          The case on which Malone relies most heavily, Jean v.

Collins, 221 F.3d 656 (4th Cir. 2000) (en banc) (per curiam)

(Jean II), does not support his position.       Jean II involved a

Section 1983 claim against two police officers for withholding--

from both the prosecution and the defense--the fact that had been

hypnotized to aid recollection.      The case reached the Fourth

Circuit for the first time in 1998.      See Jean v. Collins, 155

F.3d 701 (4th Cir. 1998) (en banc) (Jean I).        Judge Wilkinson,

writing for the majority, wrote that the police officers enjoyed

qualified immunity for their failure to disclose the evidence to

the prosecutors, and absolute prosecutorial immunity for their

failure to turn the evidence over to the defense.         Id. at 708.

Deciding what to turn over to the defense, the court reasoned,

was a prosecutorial and not an investigative function.          Judge

Wilkinson wrote:

          To the extent, therefore, that Jean contends that
          Collins and Shingleton failed to disclose exculpatory
          evidence directly to the defense, the police officers
          are entitled to the same absolute immunity that would
          be available to prosecutors for execution of the
          identical function. Jean’s claim casts the officers in
          a role much different from their traditional
          investigatory one. Police officers normally assemble
          available evidence for the prosecution rather than
          evaluate it for trial purposes. Prosecutors assess the
          material and exculpatory nature of that evidence in
          determining whether disclosure to the defense is

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          required. By asserting that the police have a duty to
          make such sensitive legal determinations, Jean raises a
          claim against the officers not in their investigatory
          role, but instead in an advocate’s role “intimately
          associated with the judicial phase of the criminal
          process.” Imbler, 424 U.S. at 430. Under the Court's
          approach, the officers must be accorded absolute
          immunity.

Id. at 706.

          The majority’s reasoning in Jean I would have supported

Malone’s contention, but the Supreme Court vacated the Fourth

Circuit’s judgment of Jean I and remanded the case for

reconsideration in light of its opinion in Wilson v. Layne, 526

U.S. 602 (1999), a qualified immunity case.        See 526 U.S. 1142.

Upon remand, in Jean II, an equally divided Fourth Circuit

affirmed the judgment of Jean I without a majority opinion.

          The opinion on which Malone relies is thus not an

opinion of the court; it is Judge Wilkinson’s concurrence.             And

Judge Wilkinson’s concurrence in Jean II is silent on the

absolute immunity issue.     Indeed, it employs reasoning that is

inconsistent with extending prosecutorial immunity for police

withholding of exculpatory evidence.       Rather than extend immunity

as the majority had in Jean I, Judge Wilkinson’s concurrence in

Jean II concludes that the plaintiffs made no cognizable claim of

a constitutional violation--that Brady imposes a disclosure duty

on prosecutors, but not upon police officers:

          Their job of gathering evidence is quite different from
          the prosecution’s task of evaluating it. This is
          especially true because the prosecutor can view the

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            evidence from the perspective of the case as a whole
            while police officers, who are often involved in only
            one portion of the case, may lack necessary context.

Id. at 660.   The determination that no constitutional duty was

breached by the officers, and thus that there was no occasion to

invoke immunity of any kind, highlights the difference between

the prosecutorial Brady function, for which prosecutorial

immunity is appropriate, and the investigative task of gathering

evidence, for which it is not.

            There was no evidence of bad faith on the part of the

police in Jean, and Judge Wilkinson’s concurrence followed the

Supreme Court’s ruling: “[U]nless a criminal defendant can show

bad faith on the part of the police, failure to preserve

potentially useful evidence does not constitute a denial of due

process.”   Arizona v. Youngblood, 488 U.S. 51, 58 (1988).             He

observed, however, that “[o]f course the bad faith manipulation

of evidence on the part of the police cannot be countenanced.

Constitutional absolution for the concealment, doctoring, or

destruction of evidence would fail to protect the innocent, fail

to assist the apprehension of the guilty, and fail to safeguard

the judicial process....”     221 F.3d at 663.     That observation

contains no reservation for an absolute immunity defense for

investigators, notwithstanding that prosecutorial decisions to

withhold or manipulate evidence during a trial are accorded

prosecutorial immunity, even if taken in bad faith.          In short,


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Jean II provides no cover for the actions Malone is alleged to

have undertaken.

          The Court of Appeals for this circuit has deemed “the

collection of information to be used in prosecution,” including

“whether the government has acquired all incriminating evidence,”

to be “investigative techniques.”      Moore, 35 F.3d at 194-95

(emphasis in original).     It has explicitly distinguished between

“acquiring evidence which might be used in a prosecution,” which

is not protected, and the “organization, evaluation, and

marshalling of such evidence” by the prosecutor, which is

protected.   Id., citing Barbera v. Smith, 836 F.2d 96, 100 (2d

Cir. 1987) (emphasis in original).        Jean I notwithstanding,

Malone’s alleged deliberate withholding of certain findings of

his fiber analysis is much more akin to “a misuse of

investigative techniques legitimately directed toward” acquiring

evidence, than it is to an exercise a prosecutor’s duty to

organize, evaluate, and marshal it during trial.         Id. (emphasis

in original).   Accordingly, on the allegations of the amended

complaint, Malone is not entitled to the benefit of prosecutorial

immunity for these actions.4


4
   Malone asserts qualified immunity for his actions in a
footnote. The assertion can be dealt with in a footnote. The
defense of qualified immunity protects “government
officials...from liability for civil damages insofar as their
conduct does not violate clearly established statutory or
constitutional rights of which a reasonable person would have
known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Where,

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                               Conclusion

          Plaintiff’s case appears to have severe factual

problems, notably the lack of evidence of bad faith on Malone’s

part, and the indication in Malone’s affidavit that he did turn

over all evidence in this case to the defense team and the

appropriate DCMPD authorities.      See Decl. of Michael Malone at

10; Def. Mot. to Dismiss at 24 n.13.        The implications of these

weaknesses can be resolved under the rubric of Rule 56 after the

parties have had a chance to engage in discovery.         Malone’s

motion to dismiss [24] is granted in part (as to his trial

testimony) and otherwise denied.      All other pending motions are

denied as moot.




                                        JAMES ROBERTSON
                                  United States District Judge




as here, the claim is one of intentional wrongdoing, the defense
is not appropriate. See Malley v. Briggs, 475 U.S. 335, 341
(1986) (qualified immunity “provides ample support to all but the
plainly incompetent or those who knowingly violate the law.”

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